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       ORDERED in the Southern District of Florida on February 28, 2025.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court
                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

        In re:    Jose Nevarez                                         Case No.: 24-13109-RAM
                                                                       Chapter 7
                           Debtor(s)                 /

                                  ORDER RECONVERTING CASE UNDER
                                 CHAPTER 7 TO CASE UNDER CHAPTER 13

                 THIS CAUSE came before the court on February 27, 2025, at 10:30AM, on the

        Debtor’s motion to reconvert this case to a case under chapter 13 pursuant to 11 U.S.C.

        §706(a) [ECF#61]. This case was previously converted to a chapter 13, but the court finds

        that the debtor is eligible to be a debtor under chapter 13.

                 It is ORDERED that:

                 1.   This chapter 7 case is reconverted to a case under chapter 13.

                 2.   The chapter 7 trustee shall file, within 30 days of the date of this order:
                      a. a final accounting for all receipts and disbursements made in the chapter

                           7 case; and

                      b. a report on the administration of the case pursuant to 11 U.S.C. §704(9).

                 3.   The chapter 7 trustee forthwith shall turn over to the debtor, all records and



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               property of the estate remaining in the chapter 7 trustee's custody and control.

        4.    The debtor shall provide notice to affected parties of the deadline set pursuant

               to Local Rule 1019-1(J)(1) for filing by a nongovernmental unit a request for

               payment of an administrative expense.

        5.    The debtor shall file, within 14 days from the date of this order and if such

               documents have not already been filed, the statements, schedules, Official

               Forms 122C-1 “Chapter 13 Statement of Your Current Monthly Income and

               Calculation of Commitment Period”, 122C-2 “Chapter 13 Calculation of your

               Disposable Income”, and, if required, payment advices or the required

               statement regarding payment advices. [see Bankruptcy Rule 1007(b),

               Bankruptcy Rules 1007(b)(1) and 1007(c), Local Rules 1007-1(E), 1007-2,

               1009-1(D), 1009-1(F), 1019-1(C) and 1019-1(L)]; and

        6.    The debtor shall file, within 14 days from the date of this order, a chapter 13

               plan using the Local Form required by Local Rule 3015-1(B)(1). Amendments

               to the plan shall be filed by the deadline set forth in Local Rule 3015-2.

        7.    If the chapter 7 filing fee was waived, the debtor shall pay the full chapter 13

               filing fee of $   313.00               or file a local form application to pay the

               fee in installments within 14 days after entry of this order.

        8.    The debtor shall commence plan payments to the chapter 13 trustee within 30

               days from the date of this order in the manner prescribed by that trustee as

               required by Local Rule 3070-1(A). If, at the first meeting of creditors, the debtor

               is not current in plan payments under the plan as originally filed, the chapter




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               13 trustee may submit a proposed order dismissing the debtor’s chapter 13

               case and the case may be dismissed without further notice of hearing.

        9.    The debtor shall file, no later than the date of the past payment made as

              required by the plan or the filing of a motion for entry of a discharge under 11

              U.S.C. § 1328(b), “Certification About a Financial Management Course” (Official

              Form 423) [See Bankruptcy Rules 1007(b)(7)(A) and (c)] (unless the course

              provider files a certificate of completion on the debtor’s behalf).

        10. Counsel for the Chapter 7 Trustee, MARKOWITZ, RINGEL, TRUSTY &

              HARTOG, P.A., has incurred $2,772.50 in combined fees and costs in this case,

              to date, which amount the Debtor has agreed is reasonable. The $2,772.50 in

              fees and costs shall be deemed allowed and shall be paid to MARKOWITZ,

              RINGEL, TRUSTY & HARTOG, P.A. through the Chapter 13 plan as an

              administrative priority claim pursuant to 11 U.S.C. § 507(a)(2).

        11. Failure of the debtor to comply with the provisions of this order or failure to

               comply with the Chapter 13 plan payments or other requirements will result in

               the re-conversion of this case to a case under Chapter 7, rather than the

               dismissal of the case, and the Chapter 7 trustee will be reappointed as Chapter

               7 trustee of the reconverted case.

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3463, E-mail: jose@blancopa.com
 Copies to:
 The clerk shall serve a copy of this order on the Debtor, Attorney for Debtor,
 Chapter 7 Trustee and the Chapter 13 Trustee.




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